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                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MINNESOTA


ZACH McQUEEN and FRED
KRAUTKRAMER, individually and on             Civ. No.: 19-cv-2559 (DWF/BRT)
behalf of others similarly situated,
                                             [PROPOSED] ORDER GRANTING
                         Plaintiffs,         STIPULATION TO FILE THIRD
                                             AMENDED COMPLAINT
           vs.

YAMAHA MOTOR CORPORATION,
U.S.A.,

                         Defendants.



      Based on the parties’ Stipulation, IT IS HEREBY ORDERED that

Plaintiffs may file a Third Amended Complaint.


Dated: ________________                ___________________________________
                                        HONORABLE DONOVAN W. FRANK
